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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

     In re:                                           §
                                                      §   Chapter 11
     KrisJenn Ranch, LLC,                             §
                                                      §
              Debtor                                  §   Case No. 20-50805
                                                      §
                                                      §


     KrisJenn Ranch, LLC, KrisJenn Ranch,             §
     LLC–Series Uvalde Ranch, and KrisJenn            §
     Ranch, LLC–Series Pipeline ROW, as               §
     successors in interest to Black Duck             §
     Properties, LLC,                                 §
                                                      §   Adversary No. 20-05027
              Plaintiffs,                             §
                                                      §
     v.                                               §
                                                      §
     DMA Properties, Inc. and Longbranch              §
     Energy, LP,                                      §
                                                      §
              Defendants.                             §


     DMA Properties, Inc.,                            §
                                                      §
              Cross-Plaintiff/Third-Party Plaintiff   §
                                                      §
     v.                                               §
                                                      §
     KrisJenn Ranch, LLC, KrisJenn Ranch,             §
     LLC–Series Uvalde Ranch, and KrisJenn            §   Adversary No. 20-05027
     Ranch, LLC–Series Pipeline ROW, Black            §
     Duck Properties, LLC, Larry Wright, and          §
     John Terrill,                                    §
                                                      §
              Cross-Defendants/Third-Party            §
              Defendants                              §
                                                      §




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                      CONSENT TO BANKRUPTCY ADJUDICATION

            DMA Properties and Frank Daniel Moore hereby consent to entry of final orders

     and a final judgment by Chief Bankruptcy Judge Ronald B. King.




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                                                 Respectfully submitted,

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                                     CERTIFICATE OF SERVICE
             I hereby certify that a true and correct copy of the foregoing document was served on
     all counsel of record by way of e-service through the CM/ECF system on the 24th day of
     June 2020:

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